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                                    EXHIBIT A
                   Plaintiff Name             Filing No.
                   Rodriguez, Sylvia          1:16-cv-00187
                   Zylich, Robert S., Jr.     1:16-cv-00223
                   Watkins, Kelvin            1:16-cv-00225
                   Tresloni, Michael A.       1:16-cv-00228
                   Thompson, Darla J.         1:16-cv-00229
                   Reynolds-Sprouse, Cathy    1:16-cv-02442
                   Varner, James W.           1:17-cv-01099
                   Raskind, Steven            1:17-cv-02005
                   Royster, Kimberly          1:17-cv-02010
                   Schaefer, Shannon          1:17-cv-02011
                   Schaefer, Kristy M.        1:17-cv-02012
                   Schaffer, Emily R.         1:17-cv-02013
                   Scholar, Paul K.           1:17-cv-02016
                   Updegraff, Robert W. Sr.   1:17-cv-02026
                   White, Dennis C.           1:17-cv-02054
                   West, William J.           1:17-cv-02116
                   Vancil, Pamela             1:17-cv-02171
                   Reagor, Emma Lou           1:17-cv-02458
                   Sargent, Farley            1:17-cv-02726
                   Thompson, Kareem C.        1:17-cv-03234
                   Tucker, Ellen              1:17-cv-03235
                   Uhlinger, Donald           1:17-cv-03236
                   Wagman, Elaine             1:17-cv-03238
                   Wheeler, Teja              1:17-cv-03241
                   Young, Robin S.            1:17-cv-03243
                   Sheridan, Mike             1:17-cv-03609
                   Vazquez, Nixzaliz          1:17-cv-03699
                   Vetter, Diana              1:17-cv-03713
                   Seay, Richard V.           1:17-cv-03729
                   Toupal, David J.           1:17-cv-03855
                   Zina, Douglas J.           1:17-cv-03896
                   Titus, Irene H.            1:17-cv-03898
                   Richardson, David L.       1:17-cv-03899
                   Rea, Julius A.             1:17-cv-03900
                   Warren, Larry D. Sr.       1:17-cv-04119
                   Womack, Robert E.          1:17-cv-04132
                   Yankowsky, Rusti           1:17-cv-04136
                   Wilson, Randall Lee        1:17-cv-04137


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                   Smith, Charlotte A.        1:17-cv-04192
                   Thompson, Audrey A.        1:17-cv-04281
                   Roper, Olivia C.           1:17-cv-04283
                   Rosales, Kelly D.          1:17-cv-04305
                   Wilson, Michael J.         1:17-cv-04444
                   Skinner, Shelia M.         1:17-cv-04516
                   Roper, Martin W.           1:17-cv-04529
                   Snyder, Mark               1:18-cv-00249
                   Robinson, Veronica         1:18-cv-00854
                   Rogalski, Jasmine          1:18-cv-00883
                   Rousu, Donald              1:18-cv-00885
                   Rude, Gerald               1:18-cv-00886
                   Simpson, Sean J.           1:18-cv-00889
                   Slipski, Thomas            1:18-cv-00890
                   Smithson, Diana            1:18-cv-00891
                   Spivey, Nicole             1:18-cv-00892
                   Thompson, Mary             1:18-cv-00893
                   Vanterpool, Christopher    1:18-cv-00894
                   Workman, Robert            1:18-cv-00895
                   Smith, Alvin               1:18-cv-01289
                   Tassop, John               1:18-cv-02102
                   Raines, Dominick           1:19-cv-00541
                   White-Smith, Tiffany Y.    1:19-cv-00923
                   Wiles, Adam C.             1:19-cv-01553
                   Washington, Demetrius C.   1:19-cv-01624
                   Thomas, William Allan      1:19-cv-01629
                   Roberson, Daron F.         1:19-cv-01692
                   Shirley, Derek             1:19-cv-01773
                   Tavares, Maria S.          1:19-cv-01793
                   Wehunt, James              1:19-cv-01813
                   Reynolds, Alice Marie      1:19-cv-01935
                   Villalobos, Dalia          1:19-cv-01936
                   Weldon, Ella N.            1:19-cv-02050
                   Salinas, Joe L.            1:19-cv-02093
                   Sargent, Rita              1:19-cv-02166
                   Starks, Camella            1:19-cv-02418
                   Sudduth, Linda Carol       1:19-cv-02535
                   Walker, Gary B.            1:19-cv-02607
                   Stafford, Fred             1:19-cv-02688
                   Roberts, Robert Franklin   1:19-cv-02691
                   Yapp, Christine            1:19-cv-02731


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                   Smith, Jeffrey Bruce       1:19-cv-02752
                   Smith, Montrelle C.        1:19-cv-02767
                   Vega-Sanchez, Melissa      1:19-cv-02769
                   Sumner, Sharonda Petrell   1:19-cv-02867
                   Turner, George Melvin      1:19-cv-02884
                   Rohrbaugh, Mark            1:19-cv-02887
                   Skuback, Brian             1:19-cv-02946
                   Rebsamen, Carol Lynn       1:19-cv-02970
                   Seby-Barr, Miriam          1:19-cv-03059
                   Sunshine
                   Roland, Craig Allen        1:19-cv-03115
                   Schmidt, Craig Arnold      1:19-cv-03147
                   Riggio, Grace Marie        1:19-cv-03167
                   Smith, Oscar               1:19-cv-03175
                   Russell, Carla             1:19-cv-03424
                   Sanchez, David S.          1:19-cv-03472
                   Rocha, Elizabeth Lisa      1:19-cv-03704
                   Vanorsdale, Larry          1:19-cv-03747
                   Zimmerman, Todd L.         1:19-cv-03789
                   Sharpe, Peggy Jean         1:19-cv-04231
                   Shatzer, Carolyn Louise    1:19-cv-04381
                   Solock, Douglas W.         1:19-cv-04923
                   Stewart, Kimberly C.       1:20-cv-00015
                   Skiera, Jean Marie         1:20-cv-00588
                   Shirley, Rensi             1:21-cv-00062




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